      Case 4:13-cr-00148-SWW Document 313 Filed 04/24/14 Page 1 of 1


                                                                                     FILED
                                                                                   U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION        JAMES             :A.CK, CLERK
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UNITED STATES OF AMERICA                                                                          DEPCLERK


vs.                                   CASE NO. 4:13CR00148-18 SWW

JUAN ALONSO-MORALES

                                             ORDER

        The Defendant in the above-styled case is not well-versed in the English language and is

unable to understand and comprehend the proceedings being conducted. The Court therefore directs

that an interpreter be appointed, pursuant to Rule 28 of the Federal Rules of Criminal Procedure, to

enable the Defendant to communicate with and comprehend the presiding judicial officers and other

parties at any and all proceedings conducted in Court.

        IT IS ORDERED that the Clerk is to appoint a qualified interpreter to assist the Defendant,

counsel, and the Court at any and all court proceedings in this case.

        IT IS SO ORDERED, this 24th day of April, 2014.
